                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 1 of 27



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                                                                              13                              NORTHERN DISTRICT OF CALIFORNIA
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                                                                              16   RJ, et al.,                                       Case No. 5:20-cv-02255

                                                                              17                  Plaintiffs,                        Hon. Edward J. Davila

                                                                              18           v.                                        Plaintiffs’ Reply Brief in Support of
                                                                                                                                     Plaintiffs’ Motion for Class Certification
                                                                              19   Cigna Health and Life Insurance Company, et
                                                                                   al.,
                                                                              20
                                                                                                  Defendants.
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                                                                                     Case No. 5:20-cv-02255                                            Reply Brief re: Motion to Certify
                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 2 of 27



                                                                               1                                                              Table of Contents
                                                                               2   I. Introduction ................................................................................................................................1
                                                                               3
                                                                                   II. Analysis......................................................................................................................................2
                                                                               4
                                                                                        A. Plaintiffs have shown common issues under Rule 23(a). ....................................................2
                                                                               5
                                                                                              1. The primary common issue in this case is Viant—not plan language. ..........................2
                                                                               6
                                                                                              2. Even if the putative Class members’ plans were at issue, they are
                                                                               7                 “substantially similar” as it relates to the issues in this case. ........................................3
                                                                               8              3. There are not four “buckets” of class members that defeat commonality.
                                                                                                 (Viant payments are not “offers.”) .................................................................................7
                                                                               9

                                                                              10              4. The Ingenix cases cited by Defendants are distinguishable and in any case
                                                                                                 support certification here. ............................................................................................12
                                                                              11
                                                                                              5. Defendants’ other attempts to individualize Plaintiffs’ claims are without
ARNALL GOLDEN GREGORY LLP




                                                                              12                 merit. ............................................................................................................................13
                                                                              13        B. Plaintiffs have shown common RICO Issues.....................................................................15
                            LIMITED LIABILITY PARTNERSHIP




                                                                              14              1. There is a common question of Cigna’s false “UCR” representations. .......................16
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                                                                                              2. Plaintiffs do not need to show common evidence of reliance at this stage, but
                                                                              16                 in any case, have done so. ............................................................................................16

                                                                              17              3. Plaintiffs have common evidence of RICO injury. ......................................................17

                                                                              18        C. Plaintiffs have shown typicality and adequacy under Rule 23(a). .....................................18

                                                                              19        D. Plaintiffs satisfy Rule 23(b). ..............................................................................................19
                                                                              20   III. Conclusion ...............................................................................................................................21
                                                                              21

                                                                              22

                                                                              23

                                                                              24

                                                                              25

                                                                              26

                                                                              27

                                                                              28

                                                                                                                                                           -ii-
                                                                                      Case No. 5:20-cv-02255                                                                                Reply Brief re: Motion to Certify
                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 3 of 27



                                                                               1                                                  TABLE OF AUTHORITIES
                                                                               2                                                                                                                                  Page(s)
                                                                               3   Cases
                                                                               4
                                                                                   Amara v. CIGNA Corp.,
                                                                               5     775 F.3d 510 (2d Cir. 2014).......................................................................................................8

                                                                               6   Beverly Oaks Physicians Surgical Ctr., LLC v. Blue Cross & Blue Shield of
                                                                                      Illinois,
                                                                               7      983 F.3d 435 (9th Cir. 2020) ...................................................................................................15
                                                                               8   In re Blue Cross of W. Pennsylvania Litig.,
                                                                               9       942 F. Supp. 1061 (W.D. Pa. 1996) .........................................................................................13

                                                                              10   Brooks v. Educators Mut. Life Ins.,
                                                                                      206 F.R.D. 96 (E.D. Pa. 2002) .............................................................................................3, 18
                                                                              11
                                                                                   Burdick v. Union Sec. Ins.,
ARNALL GOLDEN GREGORY LLP




                                                                              12      2009 WL 4798873 (C.D. Cal. Dec. 9, 2009) ...........................................................................19
                                                                              13   Caranci v. Blue Cross & Blue Shield of Rhode Island,
                                                                                      1999 WL 766974 (D.R.I. Aug. 19, 1999) ................................................................................19
                            LIMITED LIABILITY PARTNERSHIP




                                                                              14
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                                                                              15   Christoffersen v. Marchese, Inc.,
                                          Suite 350S




                                                                                      2020 WL 4926663 (E.D. Wis. Aug. 21, 2020) ........................................................................15
                                                                              16
                                                                                   Churchill v. Cigna Corp.,
                                                                              17      2011 WL 3563489 (E.D. Pa. Aug. 12, 2011) ............................................................................6
                                                                              18   CIGNA Corp. v. Amara,
                                                                                      563 U.S. 421 (2011) .................................................................................................................20
                                                                              19
                                                                                   Cole v. Asurion Corp.,
                                                                              20
                                                                                      267 F.R.D. 322 (C.D. Cal. 2010) .............................................................................................11
                                                                              21
                                                                                   D’Amico v. CBS Corp.,
                                                                              22      297 F.3d 287 (3d Cir. 2002).....................................................................................................13

                                                                              23   In re Deepwater Horizon,
                                                                                       739 F.3d 790 (5th Cir. 2014) .....................................................................................................8
                                                                              24
                                                                                   Des Roches v. California Physicians’ Serv.,
                                                                              25
                                                                                      320 F.R.D. 486 (N.D. Cal. 2017) .............................................................................................13
                                                                              26
                                                                                   Downey Surgical Clinic, Inc. v. Optuminsight, Inc.,
                                                                              27     2016 WL 5938722 (C.D. Cal. May 16, 2016) ...........................................................................5

                                                                              28   Elkies v. Johnson & Johnson Servs., Inc.,
                                                                                       2018 WL 11223465 (C.D. Cal. Oct. 18, 2018) ..................................................................20, 21
                                                                                                                               -iii-
                                                                                      Case No. 5:20-cv-02255                                                                         Reply Brief re: Motion to Certify
                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 4 of 27



                                                                               1   In re First All. Mortg. Co.,
                                                                                       471 F.3d 977 (9th Cir. 2006) .............................................................................................10, 14
                                                                               2
                                                                                   Forcellati v. Hyland’s, Inc.,
                                                                               3
                                                                                      2014 WL 1410264 (C.D. Cal. Apr. 9, 2014) .............................................................................3
                                                                               4
                                                                                   Forest Ambulatory Surgical Assocs. v. United HealthCare Ins.,
                                                                               5      2011 WL 2748724 (N.D. Cal. July 13, 2011) ..........................................................................14

                                                                               6   Franco v. Conn. Gen. Life Ins.,
                                                                                      299 F.R.D. 417 (D.N.J. 2014) ......................................................................................12, 18, 20
                                                                               7
                                                                                   Franco v. Connecticut Gen. Life Ins.,
                                                                               8
                                                                                      289 F.R.D. 121 (D.N.J. 2013), aff’d, 647 F. App’x 76 (3d Cir. 2016) ............................ passim
                                                                               9
                                                                                   Fuller v. Fruehauf Trailer Corp.,
                                                                              10      168 F.R.D. 588 (E.D. Mich. 1996) ............................................................................................6

                                                                              11   Geddes v. United Staffing All. Emp. Med. Plan,
                                                                                      469 F.3d 919 (10th Cir. 2006) .............................................................................................6, 13
ARNALL GOLDEN GREGORY LLP




                                                                              12
                                                                                   Hanon v. Dataproducts Corp.,
                                                                              13      976 F.2d 497 (9th Cir. 1992) .............................................................................................14, 17
                            LIMITED LIABILITY PARTNERSHIP




                                                                              14
                                                                                   Hill v. UnitedHealthcare Ins.,
                                  2100 Pennsylvania Ave., NW


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                                                                              15       2016 WL 11520269 (C.D. Cal. Oct. 26, 2016) ........................................................................13
                                          Suite 350S




                                                                              16   J.T. v. Regence BlueShield,
                                                                                       291 F.R.D. 601 (W.D. Wash. 2013) ........................................................................................19
                                                                              17
                                                                                   Jones v. United Behav. Health,
                                                                              18      2021 WL 1318679 (N.D. Cal. Mar. 11, 2021) .........................................................................15
                                                                              19   Just Film, Inc. v. Buono,
                                                                              20       847 F.3d 1108 (9th Cir. 2017) .................................................................................................17

                                                                              21   In re JUUL Labs, Inc., Mktg. Sales Pracs. & Prod. Liab. Litig.,
                                                                                       609 F. Supp. 3d 942 (N.D. Cal. 2022) ...............................................................................16, 17
                                                                              22
                                                                                   Kamar v. Radio Shack Corp.,
                                                                              23     254 F.R.D. 387 (C.D. Cal. 2008) .............................................................................................14
                                                                              24   Kihn v. Bill Graham Archives, LLC,
                                                                              25      445 F. Supp. 3d 234 (N.D. Cal. 2020), rev’d and remanded on other grounds,
                                                                                      2022 WL 18935 (9th Cir. Jan. 3, 2022) ...................................................................................15
                                                                              26
                                                                                   Klay v. Humana, Inc.,
                                                                              27      382 F.3d 1241 (11th Cir. 2004) abrogated in part on other grounds by Bridge
                                                                                      v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008) ..............................................................16
                                                                              28

                                                                                                                                                    -iv-
                                                                                      Case No. 5:20-cv-02255                                                                      Reply Brief re: Motion to Certify
                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 5 of 27



                                                                               1   Lacko v. United of Omaha Life Ins.,
                                                                                      926 F.3d 432 (7th Cir. 2019) ...................................................................................................20
                                                                               2
                                                                                   LD v. United Behav. Health,
                                                                               3
                                                                                      2023 WL 2806323 (N.D. Cal. Mar. 31, 2023) .........................................................................20
                                                                               4
                                                                                   Med. Soc’y of New York v. UnitedHealth Grp. Inc.,
                                                                               5     2019 WL 6888613 (S.D.N.Y. Dec. 18, 2019) .....................................................................5, 15

                                                                               6   Miller v. United Welfare Fund,
                                                                                      72 F.3d 10664 (2d Cir. 1995)...................................................................................................20
                                                                               7
                                                                                   Negrete v. Allianz Life Ins. of N. Am.,
                                                                               8
                                                                                      287 F.R.D. 590 (C.D. Cal. 2012) .............................................................................................16
                                                                               9
                                                                                   Noren v. Jefferson Pilot Fin. Ins.,
                                                                              10      378 F. App’x 696 (9th Cir. 2010) ............................................................................................13

                                                                              11   Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC,
                                                                                      31 F.4th 651 (9th Cir. 2022) ......................................................................................................7
ARNALL GOLDEN GREGORY LLP




                                                                              12
                                                                                   Owen v. Regence Bluecross Blueshield of Utah,
                                                                              13     388 F. Supp. 2d 1318 (D. Utah 2005) ......................................................................................19
                            LIMITED LIABILITY PARTNERSHIP




                                                                              14
                                                                                   Pa. Chiro. Ass’n v. Blue Cross Blue Shield Ass’n,
                                  2100 Pennsylvania Ave., NW


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                                                                              15       286 F.R.D. 355 (N.D. Ill. 2012) ...............................................................................................15
                                          Suite 350S




                                                                              16   Painters & Allied Trades Dist. Council 82 Health Care Fund v. Takeda Pharms.
                                                                                      Co.,
                                                                              17      943 F.3d 1243 (9th Cir. 2019) .................................................................................................17
                                                                              18   Parsons v. Ryan,
                                                                                      754 F.3d 657 (9th Cir. 2014) ...............................................................................................6, 10
                                                                              19

                                                                              20   Postawko v. Missouri Dep’t of Corr.,
                                                                                      2017 WL 3185155 (W.D. Mo. July 26, 2017), aff’d, 910 F.3d 1030 (8th Cir.
                                                                              21      2018) ..........................................................................................................................................3

                                                                              22   Premier Health Ctr., P.C. v. UnitedHealth Grp.,
                                                                                      2014 WL 7073439 (D.N.J. Dec. 15, 2014) ..............................................................................19
                                                                              23
                                                                                   RJ v. Cigna Health & Life Ins.,
                                                                              24
                                                                                      2022 WL 4021890 (N.D. Cal. Sept. 2, 2022) ..........................................................................15
                                                                              25
                                                                                   Santillan v. Gonzales,
                                                                              26      388 F. Supp. 2d 1065 (N.D. Cal. 2005) .....................................................................................7

                                                                              27   In re Seagate Tech. II Sec. Litig.,
                                                                                       843 F. Supp. 1341 (N.D. Cal. 1994) ........................................................................................10
                                                                              28

                                                                                                                                                            -v-
                                                                                      Case No. 5:20-cv-02255                                                                                Reply Brief re: Motion to Certify
                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 6 of 27



                                                                               1   Smith v. I.A.T.S.E. Loc. 16 Pension Plan,
                                                                                      2019 WL 6327554 (N.D. Cal. Nov. 26, 2019) ..................................................................13, 15
                                                                               2
                                                                                   Smith v. United HealthCare Servs., Inc.,
                                                                               3
                                                                                      2002 WL 192565 (D. Minn. Feb. 5, 2002) ................................................................................6
                                                                               4
                                                                                   Spann v. J.C. Penney Corp.,
                                                                               5      307 F.R.D. 508 (C.D. Cal. 2015), modified, 314 F.R.D. 312 (C.D. Cal. 2016) ........................2

                                                                               6   Spinedex Phys. Therapy USA, Inc. v. United Healthcare of Ariz., Inc.,
                                                                                      770 F.3d 1282 (9th Cir. 2014) .................................................................................................14
                                                                               7
                                                                                   In re U.S. Foodservice Inc. Pricing Litig.,
                                                                               8
                                                                                       729 F.3d 108 (2d Cir. 2013).................................................................................................6, 18
                                                                               9
                                                                                   United States v. Bingham,
                                                                              10      653 F.3d 983 (9th Cir. 2011) ...................................................................................................18

                                                                              11   United States v. Esquivel-Rios,
                                                                                      725 F.3d 1231 (10th Cir. 2013) .................................................................................................2
ARNALL GOLDEN GREGORY LLP




                                                                              12
                                                                                   Vaught v. Scottsdale Healthcare Corp. Health Plan,
                                                                              13      546 F.3d 620 (9th Cir. 2008) ...................................................................................................13
                            LIMITED LIABILITY PARTNERSHIP




                                                                              14
                                                                                   Vega v. Ocwen Fin. Corp.,
                                  2100 Pennsylvania Ave., NW


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                                                                              15      2015 WL 1383241 (C.D. Cal. Mar. 24, 2015) .........................................................................18
                                          Suite 350S




                                                                              16   Wachtel v. Guardian Life Insurance Co.,
                                                                                     223 F.R.D. 196 (D.N.J. Aug. 5, 2004) .................................................................................6, 14
                                                                              17
                                                                                   Waters Corp. v. Millipore Corp.,
                                                                              18      2 F. Supp. 2d 66 (D. Mass. 1997), aff’d, 140 F.3d 324 (1st Cir. 1998) .....................................3
                                                                              19   In re WellPoint, Inc. Out-of-Network UCR Rates Litig.,
                                                                              20       2014 WL 6888549 (C.D. Cal. Sept. 3, 2014) ......................................................................6, 12

                                                                              21   In re WellPoint, Inc. Out-of-Network UCR Rates Litig.,
                                                                                       903 F. Supp. 2d 880 (C.D. Cal. 2012) ...............................................................................14, 15
                                                                              22
                                                                                   In re Wells Fargo Home Mortg. Overtime Pay Litig.,
                                                                              23       571 F.3d 953 (9th Cir. 2009) .....................................................................................................3
                                                                              24   Wit v. United Behav. Health,
                                                                              25      58 F.4th 1080 (9th Cir. 2023) ........................................................................................1, 19, 20

                                                                              26   Yokoyama v. Midland Nat. Life Ins.,
                                                                                      594 F.3d 1087 (9th Cir. 2010) .................................................................................................16
                                                                              27

                                                                              28

                                                                                                                                                     -vi-
                                                                                      Case No. 5:20-cv-02255                                                                       Reply Brief re: Motion to Certify
                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 7 of 27



                                                                               1   I.        Introduction
                                                                               2             This case involves a common thread: Every intensive outpatient (“IOP” or “H0015”)
                                                                               3   claim in the putative Class was improperly underpriced by cost-containment tool Viant OPR
                                                                               4   (“Viant”)—regardless of plan language—based on inappropriate data. Plaintiffs seek class
                                                                               5   certification to address this common wrong. Absent certification, the putative Class members
                                                                               6   have no real remedy—the number and value of claims make individual suits inefficient and cost
                                                                               7   prohibitive. Defendants oppose certification with four primary arguments: (1) the putative Class
                                                                               8   contains subgroups—based on plan types and how providers handled claims—that defeat
                                                                               9   certification; (2) claims at issue were resolved through negotiation because payments made based
                                                                              10   on Viant were only “offers” to providers; (3) Plaintiffs fail to establish an adequate damages
                                                                              11   model that addresses damages on a classwide basis or the concerns raised in the Ninth Circuit’s
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                                                                              12   Wit decision; and (4) Plaintiffs are not typical or adequate because Plaintiffs assigned their
                                                                              13   claims, are no longer insured by Cigna, and failed to exhaust administrative remedies. Each
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                                                                              14   argument lacks legal or factual merit.
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                                                                              15             First, this case does not include any claims that were negotiated and adjusted, that depend
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                                                                              16   in any way on plan language, or for which additional amounts were paid. Every claim was priced
                                                                              17   and paid at the Viant-determined amount. After payment, one of three things happened: 1) no
                                                                              18   further payments were made; 2) a negotiation occurred that resulted in some additional payment;
                                                                              19   or, 3) an additional payment in full was made based on the maximum reimbursable charge. Only
                                                                              20   the first of these groups is at issue: The only claims in the putative Class are the many thousands
                                                                              21   of claims underpaid by Viant using inappropriate data. These claims were never negotiated or
                                                                              22   repriced and individual plans play no role in determining liability. As is undisputed, Defendants
                                                                              23   priced every claim at issue through Viant without regard to plan language.
                                                                              24             Second, until Defendants faced this and other lawsuits, no patient or provider in the world
                                                                              25   ever thought that Viant payments were mere initial offers. This argument is nothing more than
                                                                              26   post hoc legal sophistry and flatly contradicted by the weight of evidence in this case.
                                                                              27             Third, since Plaintiffs’ motion was filed, and based in part on newly acquired evidence
                                                                              28   provided in Defendants’ Opposition, Plaintiffs have elaborated on their damages model. In their

                                                                                                                                      -1-
                                                                                        Case No. 5:20-cv-02255                                              Reply Brief re: Motion to Certify
                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 8 of 27



                                                                               1   experts’ rebuttal report, Reply Ex. 1, Plaintiffs’ experts calculate the harm to putative Class
                                                                               2   members in detail. This model recreates the Viant methodology, but instead of applying that
                                                                               3   methodology to inappropriate data as Defendants did, it relies on Cigna’s own data to determine
                                                                               4   appropriate charge percentiles and payment amounts. This model has two components: The first
                                                                               5   component calculates damages based on what Plaintiffs should have been paid; the second
                                                                               6   component calculates improper fees collected by Defendants.
                                                                               7          Fourth, the named-Plaintiffs are typical and adequate. Each Plaintiff: (1) received
                                                                               8   medically necessary IOP treatment that was underpriced and paid at the Viant amount without
                                                                               9   any further payment; (2) disputed the pricing of their IOP claims; (3) received balance bills from
                                                                              10   their providers; and (4) paid those balance bills. Only the first is required for the Plaintiffs and
                                                                              11   putative Class members to have suffered harm.
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                                                                              12   II.    Analysis
                                                                              13          A.      Plaintiffs have shown common issues under Rule 23(a).
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                                                                              14          Defendants’ principal argument is that Plaintiffs fail to establish commonality under Rule
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                                                                              15   23(a). Dkt. no. 166 (“Opp.”) at 20–36. Their argument is premised primarily on differences
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                                                                              16   among putative Class members’ plans. See Opp. at 21–23. They misunderstand this case.
                                                                              17   Although plan language is one basis for establishing commonality in this case, it is not the only
                                                                              18   one. See Spann v. J.C. Penney Corp., 307 F.R.D. 508, 518 (C.D. Cal. 2015), modified, 314
                                                                              19   F.R.D. 312 (C.D. Cal. 2016). Here commonality is established primarily by Defendants’ use of
                                                                              20   Viant to price IOP claims with irrelevant data sources.
                                                                              21                  1.      The primary common issue in this case is Viant—not plan language.

                                                                              22          This case is about the uniform, indiscriminate use of Viant to price IOP claims based on

                                                                              23   bad data. As stated by now-Justice Gorsuch, “[g]arbage in, garbage out. Everyone knows that

                                                                              24   much about computers: you give them bad data, they give you bad results.” United States v.

                                                                              25   Esquivel-Rios, 725 F.3d 1231, 1234 (10th Cir. 2013). Here, Viant priced IOP claims with bad

                                                                              26   data and gave bad results. Nobody disputes that these claims were valid, payable, and medically

                                                                              27   necessary. See, e.g., dkt. No. 148 (“Pls. Mot.”) Exs. 28–29 (evidencing payment). Nobody

                                                                              28   disputes that Cigna applied the Viant methodology to all these claims without regard to plan

                                                                                                                                      -2-
                                                                                     Case No. 5:20-cv-02255                                                  Reply Brief re: Motion to Certify
                                                                                    Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 9 of 27



                                                                               1   language. See, e.g., Pls. Mot., Ex. 10 at ¶ 17 (Ralston Declaration) (admission by former
                                                                               2   MultiPlan executive that claims were “priced in exactly this same automated way using an
                                                                               3   identical methodology regardless of plan language”); id. Ex. 9 (Praxmarer Depo.) at 51:9–14. In
                                                                               4   fact, Plaintiffs do not dispute the use of charge percentiles to price IOP claims per se. The
                                                                               5   principal issue—and the common issue—is the data source Viant used to calculate IOP claim
                                                                               6   prices. See Pls. Mot. Ex. 10 at ¶ 14 (Viant data is “at its core, incompatible for use in pricing
                                                                               7   [IOP] claim.”). Notably, none of Defendants’ experts opine that the data used by Viant was
                                                                               8   appropriate for pricing IOP claims. See, e.g., Opp. Ex. 9 (May Depo.) at 72:15–73:15, 82:23–
                                                                               9   84:15; Reply Ex. 10 (Baker Depo.) at 149:6–150:8. Defendants themselves admit that none of
                                                                              10   their plans support Viant’s use of inappropriate data, as evidenced by their assertion of their new
                                                                              11   “it was only an offer” defense. Opp. at 7–10.
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                                                                              12          The Court does not need to delve into individual plan language to resolve common
                                                                              13   issues. Cf. Waters Corp. v. Millipore Corp., 2 F. Supp. 2d 66, 79 (D. Mass. 1997), aff’d, 140
                            LIMITED LIABILITY PARTNERSHIP




                                                                              14   F.3d 324 (1st Cir. 1998) (where both parties agreed on plan application, court addressed only
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                                                                              15   “method of calcula[tion]”); see Brooks v. Educators Mut. Life Ins., 206 F.R.D. 96, 101 (E.D. Pa.
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                                                                              16   2002) (improper methodology for calculating UCR supported certification over other individual
                                                                              17   issues). Just as the Defendants do, the Court can assume that Viant applies commonly and
                                                                              18   uniformly to the putative Class members’ claims. See Postawko v. Missouri Dep’t of Corr., 2017
                                                                              19   WL 3185155, at *10 (W.D. Mo. July 26, 2017), aff’d, 910 F.3d 1030 (8th Cir. 2018); Forcellati
                                                                              20   v. Hyland’s, Inc., 2014 WL 1410264, at *9 (C.D. Cal. Apr. 9, 2014); cf. In re Wells Fargo Home
                                                                              21   Mortg. Overtime Pay Litig., 571 F.3d 953, 958 (9th Cir. 2009) (defendants’ uniform treatment
                                                                              22   “bear[s] heavily” on predominance and superiority). Indeed, as addressed below, Plaintiffs’
                                                                              23   damages models calculate damages by applying Viant but with appropriate data sources—
                                                                              24   Cigna’s own IOP claims data. See Reply Ex. 1 (RPC Rebuttal) ¶¶ 16, 55–61.
                                                                              25                  2.      Even if the putative Class members’ plans were at issue, they are
                                                                                                          “substantially similar” as it relates to the issues in this case.
                                                                              26
                                                                                          Although the Court does not need to assess plan language to resolve common issues here,
                                                                              27
                                                                                   the plans at issue are nevertheless “substantial[ly] similar[]” to warrant class treatment. Franco v.
                                                                              28
                                                                                   Connecticut Gen. Life Ins., 289 F.R.D. 121, 135 (D.N.J. 2013) (“Franco I”), aff’d, 647 F. App’x
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                                                                                     Case No. 5:20-cv-02255                                                 Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 10 of 27



                                                                               1   76 (3d Cir. 2016). Any differences do not impact the common issues. At most, there are two
                                                                               2   relevant plan types at issue: MRC1 and MRC2. See Pls. Mot. Ex. 4 (plan language chart). For
                                                                               3   MRC1 plans, benefits were covered at a specified percentile of charges for similar services in the
                                                                               4   same geographic area. For MRC2, benefits were covered at a specified percentage of the
                                                                               5   Medicare schedule rate for similar services when a Medicare rate exists. When no Medicare rate
                                                                               6   exists, MRC2 plans default to the MRC1 methodology. See, e.g., id.; Opp. at 2–3 (describing
                                                                               7   plan language). Both of these plan types are a kind of usual, customary, and reasonable (“UCR”)
                                                                               8   methodology in that both types of plans determine reimbursement based on some percentile—
                                                                               9   typically 80th percentile—of how similar services are priced. Pls. Mot. Ex. 6 at ¶¶ 5–6 (Hall
                                                                              10   Expert Report); Reply Ex. 4 (Hall Rebuttal Report). Not one plan document mentions MultiPlan,
                                                                              11   Viant, or the low percentile level applied by Viant. Pls. Mot. Ex. 4; Reply Ex. 4 at 2–5.
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                                                                              12          Although there are superficial differences in some plans regarding their articulations of
                                                                              13   MRC1 and MRC2, these differences are immaterial to the common issues here. Pls. Mot. Ex. 6
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                                                                              14   at ¶¶ 5–6 (“[T]he substance [of plan provisions] remains the same despite . . . different labels”);
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                                                                              15   Reply Ex. 4 at 6–7. Cigna did not internally alter application of its MRC1 and MRC2 programs
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                                                                              16   based upon any individual plan’s language describing the program. It applied the Viant pricing
                                                                              17   tool uniformly regardless of the MRC program. Pls. Mot. Ex. 8 (Beckstead Depo.) at 68:17–69:2.
                                                                              18   With respect to MRC1 language, Cigna interchangeably refers to MRC1 as usual and customary
                                                                              19   throughout plan language and internal documentation, and whatever the language, the substance
                                                                              20   remains the same. Pls. Mot. Ex. 6 ¶ 5; Reply Ex. 4 at 2–5. Similarly, Cigna’s arguments with
                                                                              21   respect to MRC2 plan language fail. Cigna attempts to find variations within the specific
                                                                              22   percentages that employers may use to set the fee schedule. Opp. at 12–13. All these plans,
                                                                              23   however, provide that when a Medicare-based fee schedule does not apply, as is undisputedly the
                                                                              24   case for IOP claims, payment defaults to the MRC1 methodology and is based on the “80th
                                                                              25   percentile of charges made by providers of the service or supply in the geographic area where it
                                                                              26   is received.” Reply Ex. 4 at 2–5. Despite Defendants’ attempts to “gapfill” these to a different
                                                                              27   code which is payable by Medicare, the plain language of the plans already contemplated how
                                                                              28   these claims should have been priced. Id.; Reply Ex. 1 ¶ 53. Further, Plaintiffs’ experts opined

                                                                                                                                     -4-
                                                                                     Case No. 5:20-cv-02255                                                Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 11 of 27



                                                                               1   and testified to the inappropriateness of the actual crosswalk Defendants used. Reply Ex. 1 at ¶¶
                                                                               2   15, 29–32, 34, 36–38, 51–53; id. Ex. 11 (Luke Depo.) at 78:18–79:13, 234:6–13, 242:10–244:16;
                                                                               3   id. Ex. 12 (Piper Dep.) at 157:11–158:23, 162:6–164:14, 165:14–166:5.
                                                                               4              The common thread of all these plans is that they reimburse claims based on how similar
                                                                                                                            1
                                                                               5   providers charge for similar services. See, e.g., Opp. at 2 (acknowledging MRC plans price
                                                                               6   claims based on “similar services in a similar geographic area”), 12 (“DS’s claims [under MRC2
                                                                                                                                2
                                                                               7   plan] paid using Viant rates, not MRC2”) ; see also Reply Ex. 12 at 89:10–23. They were part of
                                                                               8   one common Maximum Reimbursable Charge program—or, at worst, two similar programs,
                                                                               9   MRC1 and MRC2. Pls. Mot. Ex. 6 ¶ 5. Defendants did not reimburse claims based on charges by
                                                                              10   similar providers for similar services; instead, they used data that, at all times, was
                                                                              11   “incompatible,” “inappropriate,” and “inadequate” to price IOP claims. Pls. Mot. Ex. 10 ¶¶ 14,
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                                                                              12   34; id. Ex. 7 ¶¶ 24, 32; Reply Ex. 1 ¶¶ 14, 15. Accordingly, the Court need not consider
                                                                              13   differences in what percentiles plans called for or the specific wording each plan uses to describe
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                                                                                          3
                                                                              14   UCR. See, e.g., Downey Surgical Clinic, Inc. v. Optuminsight, Inc., 2016 WL 5938722, at *1
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                                                                              15   (C.D. Cal. May 16, 2016) (concept of UCR same despite “slight or minor variations” in how
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                                                                              16   described); Med. Soc’y of New York v. UnitedHealth Grp. Inc., 2019 WL 6888613, at *2
                                                                              17   (S.D.N.Y. Dec. 18, 2019) (uniform policy creates common question). What matters is that each
                                                                              18   plan required Defendants to reimburse based on similar claims and Defendants failed to do so.
                                                                              19              Plaintiffs, like Defendants, are willing to accept that Viant can be used for determining
                                                                              20   reimbursement under the putative Class members’ claims—they dispute only the underlying data
                                                                              21   used by that methodology. Put another way, the specific wordings of each plan are not relevant
                                                                              22
                                                                                   1
                                                                              23     This is true even where gapfilling (or “crosswalking”) may be required, as stated in the plans
                                                                                   and acknowledged by Defendants. See Opp. at 2–3, 11, 13 (gapfilling determined based on
                                                                              24   “similar type of service”). Notably, the Defendants’ assertion that “Cigna gapfilled using
                                                                                   Medicare’s rates for partial hospitalization . . . services,” Opp. at 13, is not supported by the
                                                                              25   testimony or report of either of Defendants’ experts and is thoroughly rejected by Plaintiffs’
                                                                                   own. See Reply Ex. 1 (RPC Rebuttal Report) at ¶¶ 51–53.
                                                                              26   2
                                                                                     Defendants elsewhere attempt to argue, despite this admission, that MRC2 claims are not paid
                                                                              27   through Viant, even though they always are for cost-containment purposes. See Opp. at 18.
                                                                                   3
                                                                                     Indeed, even if the Court accepts Defendants’ argument that UCR does not have a uniform
                                                                              28   meaning in some sense, the Court could still find that whatever the variations of UCR, each
                                                                                   commonly required reference to sufficiently similar kinds of services.
                                                                                                                                        -5-
                                                                                       Case No. 5:20-cv-02255                                                Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 12 of 27



                                                                               1   to determining whether it is appropriate to price IOP claims based on data that has nothing to do
                                                                               2   with IOP. To hold otherwise and permit the use of data that bear no relation to IOP claims to
                                                                               3   price IOP claims would be a “virtually meaningless” interpretation and, by definition, arbitrary
                                                                               4   and capricious. See Geddes v. United Staffing All. Emp. Med. Plan, 469 F.3d 919, 930 (10th Cir.
                                                                               5   2006). Courts often find commonality in similar situations. See, e.g., Wachtel v. Guardian Life
                                                                               6   Insurance Co., 223 F.R.D. 196, 213 (D.N.J. Aug. 5, 2004) (citing cases and finding “existence of
                                                                               7   different plans does not outweigh the predominance of the common questions”), vacated and
                                                                               8   remanded on other grounds, 453 F.3d 179 (3d Cir. 2006); Fuller v. Fruehauf Trailer Corp., 168
                                                                               9   F.R.D. 588, 596 (E.D. Mich. 1996) (“Common questions are present [if plans] consistent on key
                                                                              10   points.”); Smith v. United HealthCare Servs., Inc., 2002 WL 192565, at *3 (D. Minn. Feb. 5,
                                                                              11   2002) (similar); Churchill v. Cigna Corp., 2011 WL 3563489, at *4 (E.D. Pa. Aug. 12, 2011)
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                                                                              12   (plan variation “not significant enough” to defeat commonality when plaintiffs “harmed by
                                                                              13   Cigna’s uniform policy”). The key common issue is the data, which has nothing to do with plan
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                                                                              14   language. It is no different than if Defendants chose to price claims based on lottery numbers or
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                                                                              15   zodiac charts. No one would doubt that such a practice would create common issues that did not
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                                                                              16   require a case-by-case analysis of plan language. In re U.S. Foodservice Inc. Pricing Litig., 729
                                                                              17   F.3d 108, 119 (2d Cir. 2013) (arbitrary and capricious pricing scheme warrants certification
                                                                              18   despite different contracts). Defendants cannot shield themselves from liability by tinkering with
                                                                              19   a few words that have nothing to do with their conduct.
                                                                              20          This is not a line drawing case: It is a “yes-no” question of whether, under any plan,
                                                                              21   Viant can price IOP claims based on source data that has nothing to do with IOP claims. See
                                                                              22   Parsons v. Ryan, 754 F.3d 657, 684 (9th Cir. 2014). It is not simply that Viant is using
                                                                              23   artificially depressed but otherwise relevant data to price IOP claims—like in the Ingenix
                                                                              24   cases—or applying an unfavorable, but theoretically permissible methodology that Plaintiffs
                                                                              25   don’t like and think strays too far from plan requirements—like in Franco I. 289 F.R.D. at 136–
                                                                              26   37. Defendants are using bad data that make their payment calculations categorically incorrect.
                                                                              27          Another key common aspect of this case is that it is specific to IOP claims for treatment
                                                                              28   provided by out-of-network providers. Compare In re WellPoint, Inc. Out-of-Network UCR

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                                                                                     Case No. 5:20-cv-02255                                              Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 13 of 27



                                                                               1   Rates Litig., 2014 WL 6888549, at *3 (C.D. Cal. Sept. 3, 2014) (plaintiffs “weld together the
                                                                               2   claims of millions of subscribers and providers”). Not one plan document produced by
                                                                               3   Defendants includes language regarding the pricing of IOP services specifically. See Pls. Mot.
                                                                               4   Ex. 4. The key issue of IOP pricing data is one the Court can resolve without looking into plan
                                                                               5   language because plan language will not address it. The parties, plans, and common sense all
                                                                               6   agree that reimbursement must relate in some meaningful way to the kinds of services provided.
                                                                               7   See, e.g., Opp. at 11, 13; Pls. Mot. Ex. 6 ¶¶ 5–6. Plaintiffs say Defendants failed to do that, and
                                                                               8   Defendants disagree. The Court can resolve that dispute for tens of thousands of plaintiffs in
                                                                               9   “one stroke”—without having to consider plan language. Olean Wholesale Grocery Coop., Inc.
                                                                              10   v. Bumble Bee Foods LLC, 31 F.4th 651, 663 (9th Cir. 2022). Indeed, as discussed further below,
                                                                              11   Plaintiffs’ proposed damages model does exactly that by applying Viant’s methodology using
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                                                                              12   appropriate data. See section II.D; Reply Ex. 1 (outlining damages model).
                                                                              13                  3.      There are not four “buckets” of class members that defeat
                                                                                                          commonality. (Viant payments are not “offers.”)
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                                                                              14
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                                                                                          Defendants also try to defeat commonality by creating artificial differences among class
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                                                                              15
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                                                                                   members. They divide the relevant claims into four “buckets”: (1) claims resolved through bill
                                                                              16
                                                                                   negotiations, (2) MRC1 claims, (3) MRC2 claims, and (4) VOB call claims. This is an attempt to
                                                                              17
                                                                                   inject individual issues where none exist: The first bucket is not part of the proposed Class, the
                                                                              18
                                                                                   second and third buckets are not materially different for the purposes of resolving the common
                                                                              19
                                                                                   issues in this case, and the fourth bucket is not a bucket at all but a standard of practice that
                                                                              20
                                                                                   applies to the actions of providers prior to admitting patients. In addition, even if the Court were
                                                                              21
                                                                                   convinced additional subclasses were warranted, the Court has discretion to change, narrow, or
                                                                              22
                                                                                   otherwise divide the proposed class into subclasses as it deems appropriate. See, e.g., Santillan v.
                                                                              23
                                                                                   Gonzales, 388 F. Supp. 2d 1065, 1071–72 (N.D. Cal. 2005); Fed. R. Civ. P. 23(c)(5).
                                                                              24
                                                                                                          a.      The proposed Class does not include negotiated and adjusted
                                                                              25                                  claims. Viant payments were not “offers” that providers accepted.

                                                                              26          The proposed Class does not include any claims that were resolved through actual

                                                                              27   negotiations. Pls. Mot. at 1–2 (proposed class definition). The proposed class includes only

                                                                              28   claims priced by Viant for cost-containment without further payment by Defendants. Claims

                                                                                                                                      -7-
                                                                                     Case No. 5:20-cv-02255                                                  Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 14 of 27



                                                                               1   resolved through genuine negotiations are not, by definition, claims priced and paid at the Viant-
                                                                               2   determined amount. Defendants attempt to muddy this issue by arguing, for the first time, that
                                                                               3   Viant-based payments were merely offers that began negotiations with providers on behalf of—
                                                                               4   but unknown to—Cigna members. This argument does not withstand even the barest scrutiny.
                                                                               5   When people provide a service and receive a payment for that service, they do not assume
                                                                               6   payment is an offer beginning the process of negotiation. That’s common sense. Defendants’
                                                                                                                                                                                     4
                                                                               7   attempt to argue otherwise is just a gamble—a post hoc rationalization for their bad conduct.
                                                                               8            Indeed, as the record demonstrates, providers did not treat Viant payments as offers.
                                                                               9   Reply Exs. 15 (Desert Cove Declaration), 16 (Westwind Recovery Declaration), 17 (PCI Centers
                                                                              10   Declaration), 18 (New Life Declaration); Pls Mot. Ex. 16 at 28:23–29:16. Indeed, there was no
                                                                              11   reason that they should. Providers received payment for the relevant claims before they even
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                                                                              12   knew the claims were priced by Viant. No provider was told during a VOB call that medically
                                                                              13   necessary claims would be paid with a negotiable, initial offer. See id. Negotiations on amounts
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                                                                              14   paid occurred only after a patient received a balance bill. Otherwise, MultiPlan goes “forward
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                                                                              15   with the assumption that the provider is satisfied with the payment”—an assumption never
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                                                                              16   shared with the patient or provider—leaving no room for any “counteroffer.” Pls. Mot. Ex. 5 at
                                                                              17   284:9–285:6; see id. Ex. 17 at 78:13–21 (noting Viant cannot negotiate or adjust a claim unless
                                                                              18   there is “evidence of balance billing”). And when claim prices are sent on from MultiPlan to
                                                                              19   Cigna, they are “closed out.” Pls. Mot. Ex. 5 at 104:17–105:5; id. Ex. 9 at 29:1–30:4. In fact,
                                                                              20   many providers were not informed about Viant’s involvement in claim pricing, even when
                                                                              21
                                                                                   4
                                                                                     The Defendants also hypothesize that some putative Class members could be worse off if
                                                                              22
                                                                                   Plaintiffs prevail. See Opp. at 5, 25. They provide three “hypothetical,” but unrealistic examples
                                                                              23   in support. It is extremely unlikely, however, that putative Class member would be worse off
                                                                                   under Plaintiffs’ damages models. See Amara v. CIGNA Corp., 775 F.3d 510, 521 (2d Cir. 2014)
                                                                              24   (rejecting similar argument where defendant failed to identify potentially harmed members). For
                                                                                   one, each example assumes the patient is below the out-of-pocket maximum (“OPM”). Opp. Ex.
                                                                              25   7 ¶ 64. This is extremely unrealistic given that most patients receiving substance abuse treatment
                                                                                   will exceed deductibles and shatter the OPM limit. See Reply Ex. 1 ¶ 47; see also id. Exs. 7, 22.
                                                                              26
                                                                                   Moreover, the ‘potentially harmed’ members cited by Dr. May, Opp. Ex. 8 figs. 16–17, are not
                                                                              27   even putative class members. See Reply Ex. 23. In any case, there is no requirement that
                                                                                   plaintiffs seeking class certification show that every putative class member would be better off if
                                                                              28   the class action succeeds. See, e.g., In re Deepwater Horizon, 739 F.3d 790, 814 (5th Cir. 2014)
                                                                                   (citing cases); Amara, 775 F.3d at 521.
                                                                                                                                      -8-
                                                                                       Case No. 5:20-cv-02255                                             Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 15 of 27



                                                                               1   providers asked Cigna that question specifically. Pl. Mot. Ex. 15 at 267:16–268:2, 270:8–270:16.
                                                                               2   Providers learned about Viant cost-containment and the reasoning behind the amount reimbursed
                                                                               3   only when they received EOBs or EOPs. See Pls. Mot. Ex. 28– 29. At least before March 2021,
                                                                               4   those forms stated: “We reduced the allowed amount based on Viant’s facility bill review
                                                                               5   program. If you have questions about this discount contact Viant at 866.233.0121.” Plt. Mot. Ex.
                                                                               6   28; see Reply Ex. 22 (Incledon Letter).
                                                                               7            That language cannot transform Defendants’ payments into offers. Words matter.
                                                                               8   Nowhere do Defendants use the term “offer” or in any way indicate to providers that Defendants
                                                                               9   have opened the floor to negotiations. The language indicates the claims have been “paid”—in
                                                                              10   the past tense—closing the transaction. When shown this language, Defendants’ expert would
                                                                              11   not opine that an ‘offer’ was understood by the providers. Reply Ex. 9 at 110:12–111:2, 112:16–
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                                                                              12   114:23. At best, Defendants provided a telephone line for “questions” about Defendants’
                                                                              13   “discount.” That does not an offer make. And indeed, providers who attempted to contact this
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                                                                              14   number never found themselves on the other side of an open negotiation and never received a
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                                                                              15   higher payment. See Reply Exs. 15–18.
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                                                                              16            To be sure, according to Defendants, as of March 23, 2021, they changed the language on
                                                                              17   the EOBs and EOPs: “[T]his is the Viant allowed amount offered, direct inquiries to
                                                                              18   866.233.0121. Member: you may owe more if offer is not accepted.” See Reply Ex. 22. This
                                                                              19   change almost certainly arose as a result of this litigation, and it absolutely makes clear that even
                                                                              20   Defendants knew that prior to March 2021 payments sent to providers were not offers and would
                                                                                                                                      5
                                                                              21   never be interpreted as offers. Reply Exs. 15–18. Notably, Defendants have not provided any
                                                                              22   provider declarations that directly support their “offer” theory. Defendants have provided three
                                                                              23   declarations, but none of these providers actually suggest that they treated Viant payments as
                                                                              24   offers. See Opp. Ex. 8 ¶ 86; id. Exs. 25–26. During the course of discovery, Defendants have not
                                                                              25   produced a single explanation of benefit (“EOB”) or explanation of payment (“EOP”)
                                                                              26   referencing the supposed new “offer” language. In addition, Sean Petree, a senior manager of
                                                                              27

                                                                              28   5
                                                                                    If the Court were to accept Defendants’ position as to claims after March 23, 2021—it
                                                                                   shouldn’t—the Court could still certify the class as to claims prior to that time.
                                                                                                                                    -9-
                                                                                       Case No. 5:20-cv-02255                                              Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 16 of 27



                                                                               1   Cigna’s Special Investigation Unit, recognized all three providers as providers investigated by
                                                                               2   his unit—raising questions about these providers’ motives. Reply Ex. 13 (Petree Depo.) at
                                                                               3   146:4–16, 148:21–149:20; 150:8–9; see Reply Ex. 14 (Cigna Depo. in TML Recovery). Finally,
                                                                               4   Plaintiffs’ new proposed damages model itself excludes any claims that were negotiated,
                                                                               5   adjusted, or otherwise paid at the maximum reimbursable charge. Reply Ex. 1. at ¶¶ 55–61. In
                                                                               6   sum, claims that were genuinely negotiated and adjusted are not within the proposed Class, and
                                                                               7   Defendants’ gambit to make all claims priced by Viant into negotiations claims should be
                                                                                               6
                                                                               8   rejected.
                                                                               9                            b.   The MRC1 and MRC2 buckets are not materially different with
                                                                                                                 respect to the common issues relating to the putative Class.
                                                                              10
                                                                                            As for the differences in the MRC1 and MRC2 plans, those differences are immaterial to
                                                                              11
                                                                                   the common issues in this class as described above. See section II.A.2.
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                                                                              12
                                                                                                            c.   The VOB bucket is not a separate bucket of claims but a common
                                                                              13                                 course of conduct relevant to the common issues.
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                                                                              14            There is no unique VOB bucket of claims. The proposed class definition does not depend
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                                                                              15   on the content or even existence of VOB calls. Pls. Mot. at 1–2. Nor is it VOB calls that make
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                                                                              16   plan interpretation unnecessary, as Defendants suggest. See Opp. at 15; see section II.A.2. The

                                                                              17   core common issue in this case—Defendants’ use of inappropriate data to price claims through

                                                                              18   Viant—does not turn on any of the phone calls at issue. The data was wrong for all claims at

                                                                              19   issue, whatever Defendants said. Of course, VOB calls—as well as prior authorization and

                                                                              20   utilization review calls—are important. They evidence Defendants’ common course of conduct

                                                                              21   and provide context for Defendants’ improper conduct. In re First All. Mortg. Co., 471 F.3d 977,

                                                                              22   990 (9th Cir. 2006) (“common course of conduct” in oral representations satisfies Rule 23). They

                                                                              23   substantiate the expectations of providers regarding reimbursement of IOP claims and

                                                                              24   Defendants’ deceptive practices. See id.; Pls. Mot. Ex. 16 at 223:8–224:5. Although these

                                                                              25   common practices do create additional common issues warranting class certification, they are not

                                                                              26   the sole or primary basis for commonality here and they “do not impede the generation of

                                                                              27   6
                                                                                    At the very least, the Court may consider the question of whether Viant payments were offers a
                                                                              28   common question fit for class treatment. In re Seagate Tech. II Sec. Litig., 843 F. Supp. 1341,
                                                                                   1351 (N.D. Cal. 1994) (intent can form common question).
                                                                                                                                   -10-
                                                                                       Case No. 5:20-cv-02255                                            Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 17 of 27



                                                                               1   common answers” to the key issues. See Parsons v. Ryan, 754 F.3d 657, 684 (9th Cir. 2014).
                                                                               2            But, even if this case did turn on the VOB calls, Defendants’ argument that the phone
                                                                               3   calls are too individualized to allow for class certification is overstated. First, the differences
                                                                               4   Defendants emphasize do not relate to the core issue in this case. See Opp. at 15. For instance,
                                                                               5   Defendants’ focus on differences in the phone calls relating to plan language does not matter
                                                                               6   when the common issue in this case is Viant pricing of claims regardless of plan language. See
                                                                               7   section II.A.2. What matters is that Defendants misled the providers about how they would be
                                                                               8   reimbursed as part of a “centrally orchestrated strategy.” See, e.g., Cole v. Asurion Corp., 267
                                                                               9   F.R.D. 322, 327 (C.D. Cal. 2010). Second, whatever the superficial details of the calls, a single
                                                                              10   common course of conduct emerges: Defendants misleadingly represented to providers that their
                                                                              11   claims would be reimbursed at the maximum reimbursable charge—based on charges of similar
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                                                                              12   providers in the same geographic area for IOP claims—when in fact Defendants knew otherwise.
                                                                              13   See Pls. Mot. Ex. 26–27; see also id. Ex. 15 at 267:16–268:2 (“[Plan will] be paid based on a
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                                                                              14   usual and customary.”), 312:23–313:2 (similar); id. Ex. 16 at 221:3–12 (provider had no reason
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                                                                              15   to believe claims would be priced by Viant); id. Ex. 17 at 85:1–13 (MultiPlan made Cigna aware
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                                                                              16   of its Viant pricing). The common point of the calls—all the calls—is that Defendants did not
                                                                              17   tell providers that their claims would be priced by Viant based on data that had nothing to do
                                                                                                      7
                                                                              18   with IOP claims. Courts in the Ninth Circuit have routinely certified classes where the claims
                                                                              19   involved varied oral interactions, where there was some common thread. See, e.g., Cole, 267
                                                                              20   F.R.D. at 327 (in such situations “the center of gravity of the fraud transcends the specific details
                                                                              21   of oral communications”); see also Fed. R. Civ. P. 23, Advisory Committee Notes to 1966
                                                                              22   Amendments (“[F]raud perpetrated on numerous persons by the use of similar
                                                                              23   misrepresentations may be an appealing situation for a class action.”). Accordingly, the minor
                                                                              24   factual differences in phone calls emphasized by Defendants do not overcome the common
                                                                              25   issues or supersede the Defendant’s common course of conduct.
                                                                              26   7
                                                                                    Notably, Defendants cite to Murphy’s testimony to suggest putative Class members were told
                                                                              27   that their claims would be repriced using Viant. Opp. at 15. Murphy’s testimony does not support
                                                                                   that assertion. She testified that Cigna representatives use “Benefits Access” to gather benefits
                                                                              28   information during calls. Benefits Access does not reference Viant or MultiPlan—it references
                                                                                   only “bill negotiation services.” Pls. Mot. Ex. 15 at 33:1–34:21, 49:1–12.
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                                                                                       Case No. 5:20-cv-02255                                                Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 18 of 27



                                                                               1                    4.      The Ingenix cases cited by Defendants are distinguishable and in any
                                                                                                            case support certification here.
                                                                               2
                                                                                            Defendants cite several Ingenix cases to support the proposition that commonality cannot
                                                                               3
                                                                                   be established where plan language differs among the class and its claims are premised on a
                                                                               4
                                                                                   flawed pricing methodology. See Opp. at 21–30; see, e.g., Franco I, 289 F.R.D. 121; Franco v.
                                                                               5
                                                                                   Conn. Gen. Life Ins., 299 F.R.D. 417 (D.N.J. 2014) (“Franco II”); WellPoint, 2014 WL
                                                                               6
                                                                                   6888549. These cases are distinguishable and—in important ways—support certification here.
                                                                               7
                                                                                            First, in the Franco cases, commonality was established for the class, even if class
                                                                               8
                                                                                   certification was denied on other grounds. The court found commonality present for the class’s
                                                                               9
                                                                                   ERISA § 502(a)(1)(B) and (a)(3) claims based on the common factual questions raised by
                                                                              10
                                                                                   Cigna’s use of the Ingenix database. Franco I at 131. Here, Plaintiffs similarly raise a common
                                                                              11
                                                                                   issue of whether Viant relied on inappropriate data. Second, the Ingenix cases involved
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                                                                              12
                                                                                   significantly broader putative classes relating to all types of claims, rather than to specific types
                                                                              13
                                                                                   of services like IOP. For example, in In re WellPoint, an unreported case, the class included all
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                                                                                   subscribers to ERISA health plans for all claims processed using the Ingenix database without
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                                                                                   differentiation, creating a broad scope of plans and claims. 2014 WL 6888549, at *1–*3. In
                                                                              16
                                                                                   addition, these cases involved plans with clauses that allowed the defendants to modify
                                                                              17
                                                                                   reimbursement based on the “nature and severity” of a condition. Id. at *8–*9 (citing Franco II).
                                                                              18
                                                                                   This “call[ed] for investigation into the individual characteristics of the medical issue underlying
                                                                              19
                                                                                   the claim.” Id. (quoting Franco II, 299 F.R.D. at 425). Here, the proposed class is much more
                                                                              20
                                                                                   tailored—to IOP claims—and does not implicate any medical severity clause or other
                                                                              21
                                                                                   individualized issues. Indeed, none of the claims were denied. All were deemed covered by
                                                                              22
                                                                                   Cigna and paid, albeit underpaid. Third, the key issue in the Ingenix cases was one of degree—
                                                                              23
                                                                                   whether the databases had artificially low claims data for reimbursement of all claim types. See,
                                                                              24
                                                                                   e.g., Franco II, 299 F.R.D. at 428. That question of degree could, as the Ingenix courts seemed to
                                                                              25
                                                                                   think, create an individualized question, based on a particular plan or claim, of whether
                                                                              26
                                                                                                                                                            8
                                                                                   reimbursement was too low or whether Ingenix pricing was adequate. Here, by contrast, the
                                                                              27

                                                                              28   8
                                                                                    In fact, some plans in those cases even called for the use of Ingenix—another key
                                                                                   distinguishing feature. See, e.g., WellPoint, 2014 WL 6888549, at *6.
                                                                                                                                    -12-
                                                                                       Case No. 5:20-cv-02255                                               Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 19 of 27



                                                                               1   question relates to a difference of kind: Whether Defendants may price IOP claims based on data
                                                                               2   that has nothing to do with IOP claims. No plan language can salvage that position.
                                                                               3                      5.      Defendants’ other attempts to individualize Plaintiffs’ claims are
                                                                                                              without merit.
                                                                               4
                                                                                              Defendants next raise a medley of arguments in an attempt to inject individualized issues
                                                                               5
                                                                                   into this class. These arguments are without merit.
                                                                               6
                                                                                              Standard of Review: The Standard of Review issue does not overwhelm the common
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                                                                                   issues. Defendants argue that “individualized analysis is needed to determine what standard of
                                                                               8
                                                                                   review applies.” Opp. at 29. Defendants overstate the requirements of Rule 23. As courts have
                                                                               9
                                                                                   repeatedly found, the fact that some ERISA plans may be subject to different standards of review
                                                                              10
                                                                                   does not defeat class certification “as long as the claims share a common factual core.” Hill v.
                                                                              11
                                                                                   UnitedHealthcare Ins., 2016 WL 11520269, at *4 (C.D. Cal. Oct. 26, 2016). Any individualized
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                                                                              12
                                                                                   determinations regarding the appropriate standard of review, if any, are subordinate to this
                                                                              13
                                                                                   central question. Indeed, the possibility that the Court “will need to apply at most two different
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                                                                                                                                                    9
                                                                                   standards to the plans at issue” does not defeat commonality. See Des Roches v. California
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                                                                                   Physicians’ Serv., 320 F.R.D. 486, 502 (N.D. Cal. 2017); see also Geddes, 469 F.3d at 930.
                                                                              16
                                                                                              Exhaustion: Defendants argue that Plaintiffs have failed to show that “all putative class
                                                                              17
                                                                                   members satisfied exhaustion requirements.” Opp. at 29–30. That is not what the law requires.
                                                                              18                                                                        10
                                                                                   Exhaustion is not always a requirement to recover under ERISA, and even where exhaustion is
                                                                              19
                                                                                   required, there are many exceptions, including futility, inadequate remedy, and unreasonable
                                                                              20
                                                                                   procedures. See Noren v. Jefferson Pilot Fin. Ins., 378 F. App’x 696, 698 (9th Cir. 2010)
                                                                              21
                                                                                   (outlining exceptions); see also, e.g., D’Amico v. CBS Corp., 297 F.3d 287, 291 (3d Cir. 2002)
                                                                              22
                                                                                   (exhaustion not required for (a)(3) claims); Smith v. I.A.T.S.E. Loc. 16 Pension Plan, 2019 WL
                                                                              23
                                                                                   6327554, at *3 (N.D. Cal. Nov. 26, 2019) (same). Further, exhaustion applies only after an
                                                                              24
                                                                                   adverse benefit determination requiring an appeal has occurred. See, e.g., Vaught v. Scottsdale
                                                                              25
                                                                                   Healthcare Corp. Health Plan, 546 F.3d 620, 626 (9th Cir. 2008); In re Blue Cross of W.
                                                                              26
                                                                                   Pennsylvania Litig., 942 F. Supp. 1061, 1064 (W.D. Pa. 1996). As every claim at issues has been
                                                                              27

                                                                              28   9
                                                                                        In addition, the Court could create subclasses to address Defendants’ concerns, if appropriate.
                                                                                   10
                                                                                         And, of course, Plaintiffs’ RICO claims do not require exhaustion.
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                                                                                         Case No. 5:20-cv-02255                                              Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 20 of 27



                                                                               1   paid and medical necessity is not in dispute, it has not been established that there is an adverse
                                                                               2   benefits determination requiring appeal. Moreover, exhaustion is only necessary when appeal is
                                                                               3   explicitly required by plan documents, and Defendants have not pointed to any plan documents
                                                                               4   that actually require exhaustion. See Spinedex Phys. Therapy USA, Inc. v. United Healthcare of
                                                                               5   Ariz., Inc., 770 F.3d 1282, 1299 (9th Cir. 2014); see also Opp. 29–30.
                                                                               6           In addition, exhaustion of remedies is an affirmative defense rather than a pleading
                                                                               7   requirement. See Forest Ambulatory Surgical Assocs. v. United HealthCare Ins., 2011 WL
                                                                               8   2748724, at *5 (N.D. Cal. July 13, 2011). At the certification stage, a class need only “provide
                                                                               9   support” for its excuse (i.e., futility) from the exhaustion requirement at this stage. In re
                                                                              10   WellPoint, Inc. Out-of-Network UCR Rates Litig., 903 F. Supp. 2d 880, 919 (C.D. Cal. 2012).
                                                                              11   This generally requires showing that at least “someone unsuccessfully exhausted their
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                                                                              12   administrative remedies.” Id. Here, Plaintiffs, even without knowledge of the flawed underlying
                                                                              13   data used by Viant, nevertheless attempted to appeal their claims to no avail. See Reply Ex. 3
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                                                                              14   (Depo. of RJ) at 148:3–156:12 (describing RJ’s appeals), 162:18–23 (similar). In fact, the
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                                                                              15   question of exhaustion here may itself present a classwide common question. In Franco, the
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                                                                              16   court found that “[t]o the extent the ERISA claims relate to Cigna’s use of the Ingenix database
                                                                              17   . . . the question of whether . . . futility . . . would excuse exhaustion would . . . apply to the entire
                                                                              18   class.” Franco I, 289 F.R.D. at 142 (citing Wachtel, 223 F.R.D. at 207–08).
                                                                              19           Defenses: Defendants argue that potential defenses—like a statute of limitations
                                                                              20   defense—preclude commonality. Opp. at 30–31. The mere existence of unique defenses,
                                                                              21   however, does not preclude class certification. See, e.g., First Alliance, 471 F.3d at 995;
                                                                              22   Newberg and Rubenstein on Class Actions § 3:45 (6th ed. 2022) (noting courts have “balked” at
                                                                              23   such arguments). Where unique defenses do not substantially impact the class representatives’
                                                                              24   ability to represent the class, courts routinely allow certification. See, e.g., Kamar v. Radio Shack
                                                                              25   Corp., 254 F.R.D. 387, 397 (C.D. Cal. 2008). Unique defenses may defeat class certification
                                                                              26   only where they “threaten to become the focus of the litigation.” Hanon v. Dataproducts Corp.,
                                                                              27   976 F.2d 497, 508 (9th Cir. 1992). In addition, courts generally require the opponent of class
                                                                              28   certification to make a sufficiently clear showing that the alleged defense will occupy a

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                                                                                     Case No. 5:20-cv-02255                                                   Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 21 of 27



                                                                               1   significant portion of the litigation before concluding that the unique defense precludes
                                                                               2   certification. See Kihn v. Bill Graham Archives, LLC, 445 F. Supp. 3d 234, 247 (N.D. Cal.
                                                                               3   2020), rev’d and remanded on other grounds, 2022 WL 18935 (9th Cir. Jan. 3, 2022).
                                                                               4   Defendants have failed to make that showing. The possibility that some small number of putative
                                                                               5   Class members may have their claims barred by statutes of limitations does not threaten to
                                                                               6   overwhelm this litigation and can easily be dealt with by class notice or otherwise at later, merit
                                                                               7   stages of the litigation. Christoffersen v. Marchese, Inc., 2020 WL 4926663, at *3 (E.D. Wis.
                                                                               8   Aug. 21, 2020) (rejecting similar argument).
                                                                               9           Assignment: Defendants argue that “assignment issues” preclude certification. Opp. at
                                                                              10   31–32. The possibility of assignment does not preclude certification. See, e.g., Jones v. United
                                                                              11   Behav. Health, 2021 WL 1318679, at *6 (N.D. Cal. Mar. 11, 2021) (rejecting defendant’s
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                                                                              12   assignment argument relating to typicality); Franco I, 289 F.R.D. at 132–33 (assignment did not
                                                                              13   defeat typicality or standing); Medical Society of New York, 2019 WL 6888613, at *2 (S.D.N.Y.
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                                                                              14   Dec. 18, 2019) (rejecting assignment argument). Here, whether some putative Class members, in
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                                                                              15   theory, assigned their claims, the common issue is the same: the Viant pricing of their claims.
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                                                                              16   Notably, Defendants cite only two cases in support of this argument that involve class actions,
                                                                              17   and neither of those cases are patient class actions—they are provider class actions. See. e.g., Pa.
                                                                              18   Chiro. Ass’n v. Blue Cross Blue Shield Ass’n, 286 F.R.D. 355 (N.D. Ill. 2012); WellPoint, 903 F.
                                                                              19   Supp. 2d 880 (C.D. Cal. 2012); see also Beverly Oaks Physicians Surgical Ctr., LLC v. Blue
                                                                              20   Cross & Blue Shield of Illinois, 983 F.3d 435, 441 (9th Cir. 2020) (waiver may be unenforceable
                                                                              21   if claims administrator fails to raise issue until litigation).
                                                                              22           Fiduciary Issue: Defendants argue that MultiPlan is not a fiduciary in this case.
                                                                              23   However, the court has already addressed this issue and rejected MultiPlan’s efforts to dismiss
                                                                              24   fiduciary claims against it. See RJ v. Cigna Health & Life Ins., 2022 WL 4021890, at *11 (N.D.
                                                                              25   Cal. Sept. 2, 2022).
                                                                              26           B.      Plaintiffs have shown common RICO Issues.
                                                                              27           As for Plaintiffs’ RICO claims, Defendants first argue that the RICO class fails for the
                                                                              28   same reasons as the ERISA class (i.e., the claims require an analysis of the plan language). Opp.

                                                                                                                                       -15-
                                                                                     Case No. 5:20-cv-02255                                                Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 22 of 27



                                                                               1   at 32. This argument is without merit for the same reasons explained above. See section II.A.2.
                                                                               2   In addition, Defendants engaged in a common course of conduct by representing to providers in
                                                                               3   phone calls that the claims at issue would be priced at UCR when Defendants knew otherwise.
                                                                               4   See Pl. Mot. Ex. 26–27; see Klay v. Humana, Inc., 382 F.3d 1241, 1259 (11th Cir. 2004)
                                                                               5   (affirming RICO class certification against health insurers based in part on defendant’s
                                                                               6   systematic practice of misrepresentations) abrogated in part on other grounds by Bridge v.
                                                                               7   Phoenix Bond & Indem. Co., 553 U.S. 639 (2008).
                                                                               8                  1.      There is a common question of Cigna’s false “UCR” representations.

                                                                               9          Defendants next argue that there are no common questions regarding the representations

                                                                              10   made by Cigna in phone calls. Opp. at 32–33. They assume that Plaintiffs must establish that

                                                                              11   every call was exactly the same and that every provider understood the calls identically. As
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                                                                              12   explained above, courts have held that a “centrally orchestrated strategy” involving phone calls

                                                                              13   may justify class certification—that is, class certification may be appropriate even where phone
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                                                                              14   calls underlying the claims are individualized. See section II.A.3.c.
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                                                                              15          Defendants also attempt to individualize the claims by focusing on potentially different
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                                                                              16   understandings held by providers in response to the calls. Opp. at 39. These potential

                                                                              17   individualized differences exist in any case involving oral representations, however, and do not

                                                                              18   overcome the common factual and legal issues here. See, e.g., Yokoyama v. Midland Nat. Life

                                                                              19   Ins., 594 F.3d 1087, 1094 (9th Cir. 2010); see also Negrete v. Allianz Life Ins. of N. Am., 287

                                                                              20   F.R.D. 590, 602 n.5 (C.D. Cal. 2012) (First Alliance and Yokoyama “show why variations in the

                                                                              21   language used by a defendant may be immaterial for purposes of class certification”).

                                                                              22                  2.      Plaintiffs do not need to show common evidence of reliance at this
                                                                                                          stage, but in any case, have done so.
                                                                              23          Defendants also argue that Plaintiffs have failed to provide common evidence of reliance.
                                                                              24   Opp. at 33–35. Reliance in the RICO context is not intended to be a high bar and Plaintiffs
                                                                              25   satisfy it. See Pls. Mot. at 17–20; see, e.g., Negrete, 287 F.R.D. at 596. Indeed, Plaintiffs need
                                                                              26   only show that “someone” can establish reliance. See In re JUUL Labs, Inc., Mktg. Sales Pracs.
                                                                              27   & Prod. Liab. Litig., 609 F. Supp. 3d 942, 970 (N.D. Cal. 2022) (quoting Bridge, 553 U.S. at
                                                                              28   658). Here, named Plaintiffs underwent Viant-underpaid IOP treatment, received balance bills
                                                                                                                                    -16-
                                                                                     Case No. 5:20-cv-02255                                                Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 23 of 27



                                                                               1   from their providers, and paid those balance bills. Pl. Mot. Ex. 28 (EOBs evidencing treatment);
                                                                               2   Reply Ex. 2 at 18:18–19:8; 34:25 – 35:3 (noting unpaid portion of balance bill); 186:1–186:17
                                                                               3   (noting partial payments of balance bill); 189:16–197:10 (similar); id. Ex. 7 (showing DS’s
                                                                               4   balance bill payment of $15,141.96); id. Ex. 3 at 77:2–77:4 (noting receipt of balance bill); id.
                                                                                                                                                11
                                                                               5   Ex. 8 (showing RJ’s balance bill payment of $33,728.16). The Plaintiffs’ providers relied upon
                                                                               6   Cigna’s representations when deciding whether to admit the Plaintiffs to treatment and would not
                                                                               7   have admitted Plaintiffs had they known their claims would be priced by Viant. Pl. Mot. Ex. 16
                                                                               8   at 223:19–224:5. Putative Class members suffered similar injuries as a result of the same
                                                                               9   scheme. That is enough reliance to satisfy Plaintiffs’ burden at this stage. See, e.g., Painters &
                                                                              10   Allied Trades Dist. Council 82 Health Care Fund v. Takeda Pharms. Co., 943 F.3d 1243, 1260
                                                                              11   (9th Cir. 2019); Just Film, Inc. v. Buono, 847 F.3d 1108, 1121 (9th Cir. 2017) (potential
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                                                                              12   individualized issues of reliance did not defeat class certification on RICO claim). In addition,
                                                                              13   reliance is not a basis for denial of class certification unless issues of individual reliance
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                                                                              14   predominate over common ones. See Hanon, 976 F.2d at 509; In re JUUL Labs, 609 F. Supp. 3d
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                                                                              15   at 970 (individualized reliance issues did not preclude RICO class).
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                                                                              16                     3.      Plaintiffs have common evidence of RICO injury.

                                                                              17             Defendants argue that Plaintiffs lack common evidence of a RICO injury. First, they

                                                                              18   argue that establishing a RICO injury will require analyzing Plaintiffs’ plans—an argument

                                                                              19   addressed above. See section II.A.2. Second, they argue that Plaintiffs have offered no damages

                                                                              20   model to prove the alleged injury. As explained below, Plaintiffs now have damages models that

                                                                              21   do just that. See section II.D; Reply Ex. 1 (outlining damages model). Third, Defendants suggest

                                                                              22   that Plaintiffs have offered “no methodology to isolate class members who actually paid a

                                                                              23   balance bill, even though they are the only ones with potential RICO injury.” Opp. at 35; see also

                                                                              24   Reply Exs. 7–8, 19–20 (evidencing provider balancing billing and receipt of payment). At this

                                                                              25   stage of the litigation, however, Plaintiffs do not require a method to isolate members who paid

                                                                              26   balance bills. See, e.g., Franco II, 156 F.R.D. 289 F.R.D. at 143 (finding that question of balance

                                                                              27

                                                                              28   11
                                                                                     Providers also routinely sent balance bills to patients whose claims were repriced with Viant.
                                                                                   See Reply Exs. 19 (Declaration of PCI Estate), 20 (Declaration of Summit Estate).
                                                                                                                                     -17-
                                                                                        Case No. 5:20-cv-02255                                               Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 24 of 27



                                                                               1   billing was a “question of remedy” that did not defeat certification); Brooks v. Educators Mut.
                                                                               2   Life Ins., 206 F.R.D. 96, 105–06 (E.D. Pa. 2002) (rejecting similar balance bill arguments). In
                                                                               3   any case, Plaintiffs can easily identify all patients who were balance billed through the tools and
                                                                               4   mechanisms available to them during the class notice period. Reply Ex. 1 ¶ 47.
                                                                               5          In addition, even in the absence of balance billing, the denial of Plaintiffs’ entitled
                                                                               6   benefits and the imminent threat of economic loss can constitute a RICO injury, as outlined in
                                                                               7   Plaintiffs’ motion. Pls. Mot. at 17–20. Plaintiffs had a “protectable interest” in their health
                                                                               8   benefits and that interest was injured when Defendants’ refused to properly pay those benefits.
                                                                               9   See, e.g., In re U.S. Foodservice, 729 F.3d at 122; Vega v. Ocwen Fin. Corp., 2015 WL 1383241,
                                                                              10   at *8 (C.D. Cal. Mar. 24, 2015). Simply put, Plaintiffs paid for insurance that Defendants failed
                                                                              11   to provide. Fourth, Defendants argue that the RICO claims against MultiPlan fail for lack of
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                                                                              12   reliance or proximate cause because Plaintiffs have no evidence that MultiPlan communicated
                                                                              13   with providers before treatment. Opp. at 35. RICO allows, however, for the imposition of
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                                                                              14   liability on co-conspirators based on the actions of their co-conspirators, even if they did not
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                                                                              15   have direct communications with the injured parties. See, e.g., United States v. Bingham, 653
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                                                                              16   F.3d 983, 998 (9th Cir. 2011). Importantly, MultiPlan was well aware of Cigna’s scheme, shared
                                                                              17   in its profits, and understood the foreseeable outcome of its use of Viant. See, e.g., Pls. Mot. Ex.
                                                                              18   18 at 31:11–16 (Cigna pays MultiPlan a percentage of Viant savings); id. Exs. 25 (evidence of
                                                                              19   MultiPlan’s vendor fees), 2 (Viant methodology whitepaper), 20 (Viant letterhead included on
                                                                              20   Cigna letters). Accordingly, MultiPlan can be held liable for its collective actions with Cigna.
                                                                              21          C.      Plaintiffs have shown typicality and adequacy under Rule 23(a).
                                                                              22          Defendants next argue that Plaintiffs are not typical or adequate because: (1) Plaintiffs
                                                                              23   assigned their claims, (2) are no longer insured by Cigna, and (3) failed to exhaust administrative
                                                                              24   remedies. Opp. at 36–37. Defendants’ assignment and exhaustion arguments are addressed
                                                                              25   above. See section II.A.5. As to Defendants’ argument that the named Plaintiffs are no longer
                                                                              26   insured by Cigna, that is not a basis for denying certification here. The fact that Plaintiffs are no
                                                                              27   longer insured by Cigna is relevant, if at all, only with respect to prospective relief—primarily
                                                                              28   declaratory relief. See, e.g., J.T. v. Regence BlueShield, 291 F.R.D. 601, 608 n.9 (W.D. Wash.

                                                                                                                                     -18-
                                                                                     Case No. 5:20-cv-02255                                                 Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 25 of 27



                                                                               1   2013); Burdick v. Union Sec. Ins., 2009 WL 4798873, at *7 (C.D. Cal. Dec. 9, 2009). It does not
                                                                               2   affect, however, the named Plaintiffs’ ability to seek retrospective relief in this case—which
                                                                               3   forms the primary basis for suit. See id. In any case, courts have also allowed plaintiffs to seek
                                                                               4   prospective relief in similar situations particularly when past wrongs may recur, the plaintiffs’
                                                                               5   interests are not antagonistic to the class, and plaintiffs’ pending claims with the insured have not
                                                                               6   yet been resolved. See, e.g., Premier Health Ctr., P.C. v. UnitedHealth Grp., 2014 WL 7073439,
                                                                               7   at *5 (D.N.J. Dec. 15, 2014) (rejecting similar argument; pending repayment demands function
                                                                               8   as “prospective” relief); Caranci v. Blue Cross & Blue Shield of Rhode Island, 1999 WL 766974,
                                                                               9   at *17 (D.R.I. Aug. 19, 1999) (rejecting several arguments seeking to disqualify former insured
                                                                              10   as plaintiffs; plaintiff “does not have a conflict of sufficient magnitude to make him inadequate
                                                                              11   to represent”); Owen v. Regence Bluecross Blueshield of Utah, 388 F. Supp. 2d 1318, 1328 (D.
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                                                                              12   Utah 2005) (former insured whose injury might recur would be adequate plaintiff).
                                                                              13          Here, Plaintiffs have outstanding claims against Defendants—aligning their interests with
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                                                                              14   insured class members. Plaintiffs have claims priced by Viant for which no further payments
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                                                                              15   were made. See Reply Exs. 5 (rows 692-721 of “CLAIMS – CIGNA (secondary) 2019” tab and
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                                                                              16   rows 413-432 of “CLAIMS - CIGNA (secondary) 2020” tab (showing unadjusted claims priced
                                                                              17   by Viant)), 6 (“Spreadsheet” tab (showing unadjusted claims priced by Viant)). Also, the
                                                                              18   Plaintiffs’ injury can recur. See Reply Ex. 3 at 98:8–99:7 (noting RJ’s repeated need for
                                                                              19   treatment); id. Ex. 9 at 220:18–224:10 (noting high relapse rates). Patients who suffer from
                                                                              20   substance use disorders may relapse, and the size and scope of Defendants’ market share—as
                                                                              21   well as the possibility that Plaintiffs could resume prior employment and obtain similar
                                                                              22   benefits—make it plausible that Plaintiffs could suffer the same harm.
                                                                              23          D.      Plaintiffs satisfy Rule 23(b).
                                                                              24          Defendants first argue that Plaintiffs cannot satisfy Rule 23(b)(1) or (2) because they seek
                                                                              25   a remedy not cognizable under Wit. Opp. at 37–39. Plaintiffs, however, now propose a damages
                                                                              26   model that addresses Defendants’ concerns. Reply Ex. 1. This damage model starts with the
                                                                              27   parties underlying assumption—Viant may be applied to the claims at issue—but addresses
                                                                              28   Plaintiffs’ common concern: the data. Plaintiffs’ model applies the Viant methodology but

                                                                                                                                    -19-
                                                                                     Case No. 5:20-cv-02255                                                Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 26 of 27



                                                                               1   instead of using irrelevant data, it uses Cigna’s own IOP claims data to appropriately price the
                                                                               2   services. This model has two components: The first component calculates damages based on
                                                                               3   what Plaintiffs should have been paid, and the second calculates improper fees collected by
                                                                               4   Defendants. This model is tied to Plaintiffs’ theories of liability and the common classwide
                                                                               5   issues, which is all that is required at this stage. Elkies v. Johnson & Johnson Servs., Inc., 2018
                                                                               6   WL 11223465, at *9 (C.D. Cal. Oct. 18, 2018); see also Franco II, 299 F.R.D. at 428–29.
                                                                               7             Significantly, the damages Plaintiffs propose do not involve any “reprocessing” remedy,
                                                                               8   as rejected in Wit and LD. See Wit v. United Behav. Health, 58 F.4th 1080 (9th Cir. 2023); LD v.
                                                                                                                                                           12
                                                                               9   United Behav. Health, 2023 WL 2806323 (N.D. Cal. Mar. 31, 2023). Here, Plaintiffs seek
                                                                              10   damages primarily under Rule 23(b)(3), and Plaintiffs need nothing from Defendants to calculate
                                                                              11   damages: Plaintiffs’ models can calculate the putative Class members’ damages based on claims
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                                                                              12   data already obtained from Cigna. Reply Ex. 1. In addition, for Plaintiffs’ (a)(3) claim, and
                                                                              13   unlike the plaintiffs in Wit, Plaintiffs can demonstrate that the remedy they seek comports with
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                                                                              14   remedies typically available in equity. See CIGNA Corp. v. Amara, 563 U.S. 421, 439 (2011).
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                                                                              15   Plaintiffs here are seeking the same remedies traditionally available in equity—disgorgement of
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                                                                              16   profits, accounting, and surcharge. The relief sought under (a)(3) includes these equitable
                                                                              17   remedies in so far as Defendants’ violation of their fiduciary duties resulted in improper profits.
                                                                              18             Defendants next argue that Plaintiffs have not established the predominance requirement
                                                                              19   of 23(b) for the same reasons they allege Plaintiffs did not establish commonality. Opp. at 39.
                                                                              20   Their arguments are without merit for the same reasons addressed above with respect to
                                                                              21   commonality. See II.A. Finally, Defendants argue that Plaintiffs have failed to establish an
                                                                              22   12
                                                                                     To be sure, the decision in Wit is not applicable to this case for several reasons. First, there is
                                                                              23   no question of whether the claims in this case are valid, payable claims and thus no question of
                                                                                   whether Plaintiffs are entitled to benefits in the first place, as was the question in Wit. None of
                                                                              24   the claims at issue here have been denied. Second, Plaintiffs assert that benefits exist for all
                                                                                   members of the putative class. Plaintiffs in Wit did not assert that all class members were entitled
                                                                              25   to benefits. Third, in Wit, the Plaintiffs sought initial reprocessing to determine if coverage even
                                                                                   existed, a novel remedy the Court rejected. In contrast, this case involves a remedy that was
                                                                              26
                                                                                   typically available in equity. Fourth, Plaintiffs’ claims also include RICO claims. In any case,
                                                                              27   Wit is currently subject to an en banc petition and reprocessing is an appropriate remedy in other
                                                                                   courts. See, e.g., Lacko v. United of Omaha Life Ins., 926 F.3d 432, 447 (7th Cir. 2019); Miller v.
                                                                              28   United Welfare Fund, 72 F.3d 1066, 1073–74 (2d Cir. 1995).

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                                                                                        Case No. 5:20-cv-02255                                             Reply Brief re: Motion to Certify
                                                                                   Case 5:20-cv-02255-EJD Document 179 Filed 05/16/23 Page 27 of 27



                                                                               1   adequate damages model. Opp. at 29. This argument is without merit for the same reasons
                                                                               2   discussed above. Plaintiffs have created models tied to their theory of liability that addresses a
                                                                               3   common issue. See, e.g., Elkies, 2018 WL 11223465, at *9.
                                                                               4   III.   Conclusion
                                                                               5          For all the reasons stated above, Plaintiffs respectfully ask the Court to certify the
                                                                               6   proposed Class, as well as any other such relief that the Court deems just and proper.
                                                                               7

                                                                               8           Dated: May 16, 2023                                Arnall Golden Gregory LLP
                                                                               9                                                      By:     /s/ Matthew M. Lavin
                                                                                                                                              Matthew M. Lavin
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                                                                              12
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                                                                              15
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                                                                                                                                      and the putative Class
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                                                                                     Case No. 5:20-cv-02255                                                Reply Brief re: Motion to Certify
